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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                )
Z.D., et al.                                    )
                    Plaintiffs,                 )
                                                )
        v.                                      )
                                                )     Civil Action No. 1:23-CV-943
UNITED STATES CITIZENSHIP AND                   )
IMMIGRATION SERVICES; et al.,                   )
             Defendants.                        )
                                                )

                      NOTICE OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiffs hereby DISMISS their

Complaint against Defendants WITHOUT PREJUDICE.

Dated: November 17, 2023                   Respectfully submitted,


                                           /s/ Jonathan Direnfeld
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